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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION


    CARROLL INDEPENDENT SCHOOL
            DISTRICT,

                            Plaintiff,
                                                             Case No. 4:24-cv-00461-O
                            v.                              District Judge Reed O’Connor

    UNITED STATES DEPARTMENT OF                              Oral Argument Requested
          EDUCATION, et al.,

                           Defendants.



           DEFENDANTS’ RESPONSE TO MOTION TO DELAY EFFECTIVE
                 DATE AND FOR PRELIMINARY INJUNCTION

       Defendants United States Department of Education; Miguel Cardona, in his official

capacity as Secretary of Education; Catherine Lhamon, in her official capacity as Assistant

Secretary for Civil Rights, Department of Education; United States Department of Justice; Merrick

B. Garland, in his official capacity as Attorney General of the United States; and Kristen Clarke,

in her official capacity as Assistant Attorney General for the Civil Rights Division of the United

States Department of Justice (together “Defendants”) respectfully submit this response to

Plaintiff’s Motion To Delay Effective Date and for Preliminary Injunction. To secure a preliminary

injunction, Plaintiff must show: “a substantial likelihood of success on the merits,” “a substantial

threat of irreparable injury,” “that the threatened injury if the injunction is denied outweighs any

harm that will result if the injunction is granted,” and “that the grant of an injunction will not

disserve the public interest.” Jordan v. Fisher, 823 F.3d 805, 809 (5th Cir. 2016) (citation omitted).

“A preliminary injunction is an extraordinary remedy never awarded as of right,” Winter v. Nat.



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Res. Def. Council, Inc., 555 U.S. 7, 24 (2008), and “should only be granted when the movant has

clearly carried the burden of persuasion,” Anderson v. Jackson, 556 F.3d 351, 360 (5th Cir. 2009).

Where a stay of agency action under 5 U.S.C. § 705 is available as a form of relief, “[t]he factors

governing issuance of a preliminary injunction also govern issuance of a § 705 stay.” Dist. of

Columbia v. USDA, 444 F. Supp. 3d 1, 15 (D.D.C. 2020) (citing Cuomo v. U.S. Nuclear Regulatory

Comm’n, 772 F.2d 972, 974 (D.C. Cir. 1985)). As Defendants explain in the accompanying brief

in support of their response, Plaintiff has not satisfied its burden and demonstrated an entitlement

to preliminary relief. Accordingly, Defendants oppose Plaintiff’s Motion To Delay Effective Date

and for Preliminary Injunction.

Dated: June 20, 2024                                 Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General

                                                     EMILY B. NESTLER
                                                     Assistant Branch Director

                                                     /s/ Elizabeth Tulis
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 20, 2024, I electronically filed this document with the Court

by using the CM/ECF system, and that this document was distributed via the Court’s CM/ECF

system.



                                             /s/ Elizabeth Tulis




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